      Case 4:20-cv-00366-SMR-HCA Document 51-1 Filed 09/23/21 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF IOWA

 AKRUM WADLEY, et al.,                         )
                                               )       Case No. 4:20-cv-00366-SMR-HCA
                Plaintiffs                     )
                                               )
 v.                                            )
                                               )
 UNIVERSITY OF IOWA, et al.,                   )       AMENDED NOTICE OF
                                               )       DEPOSITION OF
                Defendants.                    )       KIRK FERENTZ


       PLEASE TAKE NOTICE that Plaintiffs will take the deposition of Defendant Kirk Ferentz

on Wednesday, October 20, 2021 at 9:00 a.m. at the offices of Jeffrey Thompson, Solicitor General

for the State of Iowa or via “Remote Counsel,” a virtual platform provided by D&R Reporting &

Video, Inc depending on the state of the Covid-19 pandemic. If the virtual platform is necessary,

a link to access the deposition will be provided to all parties by Plaintiffs’ counsel. The deposition

will be taken upon oral examination before a qualified court reporter, will be video recorded, and

will continue from day to day until completed.

       Dated this 17th day of September, 2021.


                                               Respectfully submitted,

                                               SOLOMON SIMMONS LAW, PLLC

                                               /s/Kymberli J. M. Heckenkemper
                                               Damario Solomon-Simmons, OBA # 20340
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                                                                                        Exhibit A
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